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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                :
In re:                                                          :   Chapter 11
                                                                :
ORION HEALTHCORP, INC.1,                                        :   Case No. 18-71748 (AST)
                                                                :
                                            Debtors.            :   (Jointly Administered)
                                                                :
HOWARD M. EHRENBERG IN HIS CAPACITY                             :
AS LIQUIDATING TRUSTEE OF ORION                                 :   Adv. Pro. No. 20-08049 (AST)
HEALTHCORP, INC., ET AL.,                                       :
                                                                :
                                            Plaintiff,          :
                                                                :
v.                                                              :
                                                                :
ARVIND WALIA; NIKNIM MANAGEMENT,                                :
INC.,                                                           :
                                                                :
                                            Defendants.         :
                                                                :
                                                                :

                       PLAINTIFF’S RESPONSE TO DEFENDANTS’
                        SEPARATE STATEMENT OF FACTS AND
                  PLAINTIFF’S ADDITIONAL FACTS IN OPPOSITION TO
                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR,
                   IN THE ALTERNATIVE, SUMMARY ADJUDICATION

          Comes now, Plaintiff, Howard M. Ehrenberg in His Capacity as Liquidating Trustee of

Orion Healthcorp, Inc., et al., and issues Plaintiff’s Response To Defendants’ Separate Statement

of Facts and Plaintiff’s Additional Facts:


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.


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                             Defendants’ Separate Statement of Facts

            Defendants’ Statement of Fact                             Plaintiff’s Response

         Plaintiff’s First Amended Complaint does
  23                                                      Disputed; The First Amended Complaint
         not contain an allegation that either transfer
                                                          (“FAC”) alleges that both Transfers are
         at issue is voidable under applicable law by     avoidable pursuant to applicable law. (FAC,
         a creditor holding an unsecured claim that is    ¶13) The FAC identifies the Plaintiff in his
         allowable under section 502 of the               capacity as the Liquidating Trustee under the
         Bankruptcy Code or that is not allowable         Liquidation Trust Agreement, as created
         only under section 502(e) of the Bankruptcy      according to the Plan in the bankruptcy case.
         Code.
                                                          (FAC, ¶¶1, 5, 6) The Liquidation Trust was
                                                          created specifically to make distributions to
                                                          holders of Allowed Claims and Allowed
                                                          Interests and to pursue causes of action for
                                                          their benefit. (FAC, ¶7) Section 4.1(e) of the
                                                          Plan confirmed the existence of General
                                                          Unsecured Claims which specifically included
                                                          allowed lender deficiency claims in the
                                                          amount of $108,287,223.

                      Plaintiff’s Additional Separate Statement of Facts in
                    Opposition to Defendants’ Motion for Summary Judgment


        Plaintiff’s Additional Statement of Fact                      Evidentiary Support

   24     During the course of discovery in August        See, Proof of Claim of John G. McBride
          2021, the Trustee produced to Defendants        attaching the Final Judgment (Ehren-Walia
          the Final Judgment of unsecured creditors       003171-3178), a true and correct copy is
          Jack McBride and Alan Nottingham dated          attached to the Affidavit of J. Nolan as
          December 16, 2015, the Abstract of              Exhibit 8.
          Judgment, and the filed proof of claim in
          the Debtors’ bankruptcy case.

   25     During the course of discovery, the Trustee     See, Schedule 10 (Ehren-Walia 00907-910), a
          produced Schedule 10, Summary of Legal          true and correct copy is attached to the
          Actions against the Debtors, which              Affidavit of J. Nolan as Exhibit 9.
          identified thirteen (13) separate lawsuits by
          creditors filed against the Debtors.




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        Plaintiff’s Additional Statement of Fact                      Evidentiary Support

   26     During the course of discovery, the Trustee     See, Credit Agreement with Bank of America
          produced to the Defendants the January 30,      (Ehren-Walia 003504-3784), a true and
          2017 Credit Agreement with Bank of              correct copy is attached to the Affidavit of J.
                                                          Nolan as Exhibit 10.
          America, an Allowed Unsecured Claimant,
          in the bankruptcy cases.


  27.     During the course of discovery, the Trustee     See, the Debtors’ Third Amended Joint Plan
          produced the Debtors’ Third Amended Joint       of Liquidation Pursuant to Chapter 11 of the
          Plan of Liquidation Pursuant to Chapter 11      Bankruptcy Code (Ehren-Walia 003404-
                                                          3463), a true and correct copy is attached to
          of the Bankruptcy Code.                         the Affidavit of J. Nolan as Exhibit 11.


 Dated:     February 22, 2023                 PACHULSKI STANG ZIEHL & JONES LLP


                                              By:       /s/ Jeffrey P. Nolan
                                                        Ilan D. Scharf, Esq.
                                                        Jeffrey P. Nolan, Esq. (admitted pro hac vice)
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                                                        Counsel for the Plaintiff, Howard M.
                                                        Ehrenberg in his capacity as Liquidating
                                                        Trustee of Orion Healthcorp, Inc., et al.




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